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Eric Andre Fields

Registration Number: 55715-056
Federal Correctional Institution
P.O. Box 1000

Morgantown, WV 26507-1000

May 22, 2013

Clerk of Court

To Whom It May Concern:

Please be advised that I am indigient and cannot make copies of the
attached dccument to be filed in Court. Please send me a copy back, showing
it was filed. Thank you in advance for taking out this time in your busy

schedule to look into this matter of due diligence.

Respectfully,

Eric Andre Fields

Reg. No. 55715-056

Federal Correctional Institution
P.O. Box 1000

Morgantown, WV 26507-1000

USCA4 Appeal: 13-4846 Doc: 25 Filed: 05/29/2013 Pg: 2 of 21

DESIGNATION OF RECORD
ON
APPEAL OF DETENTION
ORDER
U.S. V. FIELDS

District No.: 7:11-CR-00125-F-4
Appeal No.: 13-4346

Record No. Document

(R27) . Detention Order
Temporary by Mag. Judge Robert B. Jones

(R46) Final Detention Order
From Mag. Judge Robert B. Jones

CERTIFICATE OF SERVICE

I, hereby certify that a true copy of the foregoing was sent on May
aad » 2013 by first class pre paid stamps in a U.S. Postal mailbox at FCI

Morgantown, P.O. Box 1000, Morgantown, West Virginia 26507-1000 to:

duc Ande Folie
Eric Andre Fields
Pro Se Defendant

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.

UNITED STATES COURT OF APPEALS
FOR THE FOURTH CIRCUIT

NO. 13-4346
(7:11-CR-1025-F-4)

UNITED STATES OF AMERICA,
Plaintiff,
Vv.

ERIC A. FIELDS,

me et ee ee Se ae ee

Defendant.

EMERGENCY MOTION TO EXPEDITE

BOND PENDING REVIEW PURSUANT

TO 28 U.S.C §3145(c), RULE 9,

AND OR APPEAL OF DENIAL OF MOTION
NOW COMES the Movant, Eric Andre Fields, who moves this Honorable Court

to grant this Motion of due diligence whereas if Defendant is to wait on
the release order or decision granting relief of reversal, vacate sentence,
he would have done aJl or if not majority of his sentence to which is part
of issue and obiections he has raised and challenged to the Government violation
of his 5th and 14th Amendment. Whereas Defendant has a Constitutional liberty
interest, as well as the problem, in Defendant being treated fairly under
due process and equal protection of the law. Pursuant to Criminal Procedure
Chapter 207, release and detention pending review or appeal, 28 U.S.C. 3145(c)
or appeal of a detention order. Under 28 U.S.C. §3731, the appeal shall
be determined promptly. Due to new information that was unknown or was
not available at the time of the pre-trial bond/detention hearing. FRAP

9(a) governs release of the Defendant. The Defendant moves for immediate

bond release on his own recognizance to his mother, Geraldine Fields residence
USCA4 Appeal: 13-4346 Doc: 25 Filed: 05/29/2013 Pg:4 of 21

at 371 Evergreen Church Rd., Delco, North Carolina. See Memorandum of Law

attached.

Respectfully Submitted,

Eric Andre Fields
Pro Se Defendant

Eric Andre Fields

Register Number: 55715-056
Federal Correctional Institution
P.O. Box 1000

Morgantown, WV 26507-1000
USCA4 Appeal: 13-4346 Doc: 25 Filed: 05/29/2013  Pg:5of21

STATEMENT OF JURISDICTION

This Honorable Court has jurisdiction to heat this matter pursuant
to 28 U.S.C. §1291 as there had been a final adjudication by the U.S. District
Court on October 12, 2011 (R46 Order). A Notice of Appeal has been filed
on the Appeal of ORder of Detention. The Court of Appeals, other than U.S.
Court of Appeals for the Federal Circuit shall have jurisdiction of apneals
from final decision of the District Courts of the U.S. except where a denial
review may be had in the Supreme Court. The jurisdiction of the Federal
Appeals Circuit shall be limited to the jurisdiction described in 28 U.S.C.
§§ 1292(c), 1292(d), and 1295, as well as 18 U.S.C. §3742.

Appeals from release or detention orders, whether pretrial or post-
conviction are determined in accordance with Fed. Rule Apnellate Procedure

9. U.S. v. Pendomo, 765 F. 32d 942 (CA9 Cal 1985).

Scope of Appellate review of initial detention order or detention order
in response to Motions to revoke or amend is limited, and order must be
sustained if supported by proceeding below. U-S. v. Fortna, 769 F. 2d 243
(CA5 Tex 1985}.

When cenvicted Defendant files motion for release, in Court of Appeals,
following denial of similar motion in District Court, Court of Appeals will

apply same standard as if would apply in appeal from bail determination

by District Court. U.S. v. Strong, 775 F. 2d 504 (CA3 Pa 1985).

Criminal Procedure Chapter 207 Release and Detention Pending Judicial Procedureal
Section 3145 Review and Appeal of a Release or Detention:
C. Appeal from release or detention order.

This Title 18 U.S.C. §3731, the appeal shall be determined promptly. A
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person subject to detention pursuant to 18 U.S.C. §§ 3143(a)(2) or 3143(b) (2),
and who meet. the conditions of release set forth in 18 U.S.C. §§ 3143(a)(1)

or 3143(b)(1), or may be ordered released under appropriate conditions,

by the judicial officer, if it is clearly shown that these are exceptional
reason why a person's detention would not be appropriate.

SUMMARY OF ARGUMENT

T-
Defendant is likely to succeed on his motions and for relief, and can
show he is not a flight risk or danger to the community, he is entitled
to release pending decision on his Motion filed in District Court.

STANDARD OF REVIEW

The appeal or review of denial of bail or bond is reviewed for abuse

of discretion. U.S. v. Chilingirian, 280 F. 3d 704, 709 (6th Cir. 2002).

EXHAUST AVAILABLE REMEDIES

Detainee had to first exhaust available remedies, which includes remedies
under 18 U.S.C. §3145; additionally, appeal from detention order; or from
decision denying revocation, or amendment of such order, was governed by
provision of such order, was governed by provision of 28 U.S.C. §1291. Gon
v. Gonzales, 534 F. Supp. 2d 118 (2008, DC Dist Co 1) which discusses appellate
‘jurisdiction over final decision of District Court. 18 U.S.C. §3145(c).

ABUSE OF DISCRETTON IN DISTRICT COURT

FAILURE TO CONSIDER DEFENDANT RELEASE UNDER

PROVISION OF 18 U.S.C. §3145(c)

The Trial Court abused their discretion in failing to consider Defendant
release under 18 U.S.C. § 3145(c). Section 3145, as indicated by the Title,
Review and Appeal of a release or detention order, addresses the review

or modification of orders that detains or grants release of a Defendant.
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Subsection (c) provides that any appeal from such an order shall be determined
promptly. See U.S. v. Grady, 20 Fed. Appx. 473 (6th Cir. 2001).

In U.S. v. Christmas, 596 F. 3d 870 (6th Cir. 2010), the Court held:
“although we have never held in published decision the District court has
authority to release a Defendant being detained- pursuant to §3143(a) (2)
upon a showing of "exceptional reasons, under §3145(c) the Court of Appeals
has reached that conclusion in an unpublished decision. U.S. v. Cook, 412
F. Appx. 803, 804 (6th Cir. Aug.13, 2002), "We hold that the Court erred

in not considering whether Christmas established exceptional reasons to

srpport his release pending sentence." See also, U.S. v. Goforth, 546 F.

3d 712, 715 (4th Cir. 2008).

Security designation data; this information is used to determine the
inmate's security level. (1) Judge, (2) Recommended facility, (3) Recommended
program, (4) U.S.M. Office, (5) Voluntary Surrender- this item allows for
the subtraction of three points from the security point total, item 15.

When the judgment indicates the inmate was allowed to voluntarily surrender.
For purposes of this item, voluntary surrender means the inmate was not
escorted by a law enforcement officer to either the U.S. Marshals or place
of confinement.- 3 points.

Item 10, History of escape or attempts -0, escape history includes
the individual's entire background of escapes or attempts to escape from
confinement, or absconding from community supervision, excluding the current
term of confinement, there must be a finding of guilt. Code A PSF Note-
no public safety factors apply. Security point total- 0-11 inmate security
level thin. Defendant Fields is housed at FCI Morgantown, 446 Greenbag

Road where there is no fence and the main traffic into the facility is surrounded
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by a business district. The area also contains houses and apartment buildings
next to the Morgantown Camp Facility. See Exhibits A & B, male custody
classification form for Eric A. Fields: public safety: nome, MGTV: none,
detainer: none, Escapes: none, Violence: none, Freq. Disc. Rpt: none,

Type Discip Rpt: mone, Family/Community: Good. See Exhibits A & B.

Find that convicted defendant is not likely to flee and does not pose
danger to either himself or community if released pending review born out by
research in Internet.

"To establish entitlement to release pending appeal, defendant must
show (1) by clear and convincing evidence, that he is not likely to flee or
pose a danger to the safety of another person or the community, and (2) that
the appeal is not for delay and raises a substantial question of law or fact
likely to result in reversal and order for new trial, or a sentence that does
not include a term of imprisonment, or a reduced sentence to a term of impris-
onment less than the total of the time already served plus the expected dur-

ation of the appeal process." United States v. Katsria, 147 Fed. Appx. 561,

565 (6th Cir. 2005).

A. APPEAL NOT FOR DELAY

The Defendant first submits that this review/appeal of his conviction
and sentence is not imposed for the purpose of delay, but is rather a serious
and sincere challenge to the jury's verdict. As will be argued below, Fields
has several issues which will likely result in reversal; therefore, the
Government cannot argue that the pressing of the direct appeal in this case,
or review is merely a delay tactic.

Defendant would note that he is not a danger to the community, nor.

is he likely to flee. Despite incarceration in a camp for inmates with
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no fence and next to the apartment complex across the street, this Defendant
had many opportunities to escape or cause danger to the community and has
not done so, is proof of clear convincing evidence for _ 7 _____ months.

B. SUBSTANTIAL QUESTION

Defendant submits that the claims he will raise in his motion and memorandum
of law are substantial questions for review and/or appeal. A Defendant
proves a substantial question "when the appeal or review presents a close

question or one that could go either way.." U.S. v. Sabino, 97 Fed. Appx.

626 (6th Cir. 2004).

EXCEPTIONAL REASONS EXIST

This is not to say that every case where sufficiency of evidence is
challenged would amount to “exceptional reasons" under 18 U.S.C. §3145(c).
Rather, each case must be analyzed individually. This Court thinks that
the greater likelihood of reversal on appeal, the greater the chance an
"exceptional reason" exists under §3145(c). If the question of sufficiency
of evidence is a close one, then there would be no "exceptional reason"
under 18 U.S.C. §3145(c).

l. Federal Government suppression of exculpatory evidence violated Due
Process of Defendant requiring reversal of conviction. U.S. v. Bagley,

473 U.S. 667, 682 (1985); Giglio v. U.S., 405 U.S. 150, 154 (1972).

2. The Government now by offered false testimony by informant who was
induced to commit perjury, and who testified at trial to get less time.

When the Government knowingly offered false testimony "A conviction obtained

by use of perjured testimony must be set aside if there is any reasonable

likelihood that the false testimony could have affected the jury verdict.
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chief witness materially signed statement that he knew Defendant and he was
not involved in any drug transactions, he was just in the wrong place at the
wrong time, was withheld from Defense and just in trial. Where this evi-
dence at issue was favorable to the accused/Defendant, because it was excul-
patory and because it was impeaching. The evidence was allegedly destroyed
by washing of trial Counsel's clothes, this was done either willfully or in-
advertantly, and there is clear prejudice to Defendant as a result of the in-

ability to produce the evidence. See Stricklet v. Greene, 527 U.S. 263, 119

S. Ct. 1956, 144 L.Ed. 2d 286 (1999). The question is not whether Defendant
would more likely than not have received a different verdict with evidence,

but whether in its absence he received a fair trial. U.S..v. Agurs, 427 U.S.

97, 96 S. Ct. 2392, 49 L. Ed. 2d 342 (1976).
4. Were there cumulative effects of suppressed evidence, defendant argues

yes. See Kyles v. Whitley, 514 U.S. 419, 135 S. Ct. 1555, 131 L. Ed. 2d

490 (1995); kasi v. Angelone, 300 F. 3d 487 (4th Cir. 2002).

5. Discovery Rule 26(b) violations which a procedural due process violation
in section 10.01, discovery in federal criminal system. The prosecution's
advantage is enhanced because, if the prosecution fails to produce discoverable

material, the burden is on the Defendant to show prejudice. U.S. v. Perez,

960 F. 2d 1569 (ilth Cir. 1992), cert. den. 507 U.S. 975 (1993); U.S. v.

Hasting, 126 F. 3d 310 (4th Cir. 1997). Defendant can meet this burden

for no one knows the outcome of trial by jury would have ended if Defendant

had the Government suppressed evidence or when they failed to talk to a

witness who was cellmates to their chief witness who stated their chief

witness told him he never knew of the guy he was just in the wrong place

at the wrong time. And he was going to lie to get lesser sentence for committing

perjury for Government. See affidavit attached for Gregory M. Wright, Register
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Number: 55867-056. And this action by the Government prejudiced the Defendant's
chances for a for trial by jury. EKL bef EC

6. The Defendant has objected to the alleged errors 1-5 in trial, and

they are so substantial as to fall within the scope of Rule 52(b). That
violated procedural due process of the 5th and 14th Amendment.

7. Newly discovered witness that would have given statement that Government's
chief witness lied to the Court to get time reduction and that the Defendant

did no criminal act. See Exhibit C; attached hereto.

NEW _TNFORMATION OR EVIDENCE

New Appellant information to reverse the detention order are (1) new
information exist that was unknown to the Movant at the time of the hearing
and (2) the new information has a material bearing on the issue of whether
there are conditions of release that will reasonably assure Defendant's
appearance if his motion fails to get him relief requested in trial court,
and the safety of any other person in the community. 18 U.S.C. 314 . In
other words, the new information must be of a nature that would increase
the likelihood that the defendant will appear at trial or self surrender
to prison official if his motions failed to get him his relief of immediate
reversal, set aside conviction, immediate release and would show that the
Defendant is less likely to pose a danger to the community. Exh. 6:7 A +.

The first two prongs of §3143 has been met by Defendant. And that
trial court failed to address the basis for this original detention. Section
3143, Rule 9({a) stated that "the judicial officer shall, in determining
whether there are conditions of release that will reasonably assure the
appearance of the person as required and the safety of any other person
and the community, take into account the available information concerning-
(2) the weight of the evidence against the person" is relevant to whether

probable cause has been established. By its term, it deals with the factors
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to be considered in determining whether there are conditions which will
assure the appearance of the accused or convicted and safety of the community.
To establish entitlement to release pending decision on motions, Defendant
must show (1) by clear and convincing evidence, that he is not likely to
flee cr pose a danger to the safety of another person or the community and
(2) that the motions for relief are not for delay and raises a substantial
question or law or fact likely to result in reversal or sentence that does
not include a term of imprisonment less than the total of the time already
served, plus if necessary and no relief is granted by trial court the expect
duration of the appeal process. U.S. v- Katsma, 147 Fed, Appx. 561, 565
(6th Cir. 2005). Sex EMA 6,7 AVE.
To meet its §3143(b)(A) the Defendant must produce only "some relevant

evidence." The Bail reform Act of 1984 (3d est. 2006) (quoting U.S. v. Jessup,

757 F. 2d 378, 381 (Ist Cir. 1985).

The BOP found no history of failure to appear at trial, nast flight
to avoid prosecution or flight in his past record of incarceration for previous
convictions. See Exhibits A & B. Nor abscounding from community supervision
pursuant to Program Statement P5100.08, dated 9/12/2006, subiect: Inmate
Security, Designation and Custody Classification: Security Designation Procedure
for new Commitments, Chapter 4. Security Designation data. This information
is used to determine the inmate's security level. supra, pp.3.

To rebut the presumption, Defendant need not produce evidence regarding
the finding of probable cause that he committed the underlying offense,

nor finding in a general danger to the comminity. U.S. v. Dominguez, 783

F. 2d at 706. Instead the Defendant must produce evidence showing "what

is true in general is not true in the particular case." U.S. v. Jessup,

757 F. 2d at 384.
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The Sixth Circuit case precedent, U.S. v. Daniel, 2008 Dist. LEXIS

8522 (Feb. 6, 2008) in opinion stated: "Though we have concluded that the
district judge's finding of underlying historical facts and the consequent
factual determination of risk of flight..we are entitled to apply a broader
standard of review in determining the extent to which the facts regarding
risk of flight as found by the district court, have significance on constitutional
issue of whether continued detention violations due process limitations.
In that inquiry, what is, significant is the absence of flight. There is
no finding and no evidence that either appellant has ever fled from lawful
authority or failed to honor court orders."

In the instant case, there is no evidence that Defendant Fields has
ever fled from lawful authority or failed to honor court orders.

CONTROLLING LAW AND CASES

Section 3145- Review and appeal of a release or detention order, case
annotations, III Appeal.
13. Scope and Standard of Review
14. Release

District Court's finding that Defendants, indicted on cocaine trafficking
charges, were dangerous under 18 U.S.C. § 3142(e), and resulting pretrial
detention order, were improper where District Judge failed to review Magistrate's
detention order under 18 U.S.C. §3145(b), although the Government had not
waived motion for pretrial detention, and where District Court's finding
of dangerous was based solely on application of presumption in 18 U.S.C.
§3142(e), despite fact that such presumption was preliminarily rebutted

by Defendants, as that conclusive application of dangerous presumption was

improper. U.S. v. Dominguez (783 F. 2d 702 (1986 CA7 Ind.) (criticized in

U.S. v. Havens, 487 F. Supp. 2d 335 (2007 WD NY)).

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Where Defendant maintains direct and substantive challenge to factual
underpining of element of violence on which his sole conviction stands or
falls, in absence of risk of flight or danger to community it is within
court's discretion to find exception reason under 18 U.S.C. §3145(c). U.S.

v. Disomma, 951 F. 2d 494 (1991 CA2 NY).

Where drug defendant did contend that the evidence did not go to commission
of drug offense subjecting defendant to mandatory detention. This was exceptional

reason within meaning of 18 U.S.C. 3145(c). U.S. v. Herrera-Soto, 961 F.

17623 (1990 ND NY)).

Convicted cocaine distributor is released on bond pending appeal where
lifetime resident of area showed that he has family ties there, good employment
history and potential, and is not danger because convict who was mere driver
of vehicle that delivered drugs has strong argument that evidence used to
convict him was insufficient. U.S. v. Hole, 827 F. Supp. 1354 (1993 WD

TENN) (criticized in U.S. v. Carretero, 1999 U.S. DIST LEXIS 17622 (1991

ND NY)).
18 U.S.C. § 3145(c) may be applied by district court and appellate

court. U.S. v. Miller, 568 F. Supp. 2d 764 (2008 ED KY).

18 U.S.C. §3145(c) provides that an appeal from a release or detention
order shall be governed by 18 U-S-C- §1291 and 18 U.S.C. §3731 and shall
be determined promptly.

In Puerlas v. Mich. Dept. of Correction, 88 F. Supp 2d 775 (6th Cir.

2000), the Michigan Supreme Court did not give any explanation for its decision.
The entire decision of the majority is as follows: "we vacate the Order

of the Court of Appeal and Deny the Defendant's Motion for bond pending

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appeal. The Defendant does not satisfy the criteria for release on an appeal
bond. MCR 7.209. They denied bond without analyzing the factors in People

_v. Giacalone, 16 Mich. App. 352, 107 N.W. 2d 871 (1969), this Court vacated

ano reasoned decision without explanation for doing so. Deny bond pending
appeal without a statement of reason that are arbitrary or constitutionally
unreasonable and thereby does not satisfy Federal Due Process requirements.
The Supreme Court did not offer any reason for thinking that Defendant did
not satisfy the criteria for release. ‘Denial of bond violates the 14th
Amendment's fundamental and important liberty interest protected by Due
Process Clause of the 14th Amendment. That may not be taken away arbitrarily.
Atkins at 550.

In Love v.. Ficano, 19 F. Supp. 2d 754 (ED MICH 1998), the Michigan

Supreme Court denied petitioner's appeal of the Court of Appeals decision
to vacate his release on bond, stating that it was "not persuaded that the
questions presented should be reviewed by this Court."

Judge Tarnow stated, "This protected liberty interest was created by
the Trial Court's decision that petitioner's conviction was a miscarriage
of justice and that he was entitled to release on bond pursuant to the factors
set forth in M.C.L. §770.9a(1). Id. at 760.
pending trial without a statement of reason is arbitrary per se. Arbitrary
such as is left to the discretion of a Judge and not defined by statute.

The Defendant has been a life long resident of the community, providing
jobs in the residential and commercial construction in his state. Further
is a member of his church who he has given ties to and donated to as well
as many charities in the community at large. There are more exceptional

reasons that Defendant is not a flight risk or threat to the community.

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There is no record of him ever fleeing or harming a person. There must be a
conviction and sentence record to prove that he has.

The Defendant would be staying with his mother, Geraldine Fields at
371 Evergreen Church Rd., Delco, NC 28436. And running his construction bus—
iness providing needed jobs in the community until the pendency of the motion
to be filed or if necessary and appeal of denial of his motion 59(e). The
Defendant will have done all if not most of his sentence if bail is provided

on his own regonizance.

CONCLUSION
Eric Andre Fields does pray that this Honorable Court grant him immediate

bond pending motion or appeal of denial of motion from Trial Court.

Respectfully Submitted,

Eric Andre Fields

Pro Se Defendant

Register Number: 55715-056
Federal Correctional Institution
P.O. Box 1000

Morgantown, WV 26507-1000

-12-
USCA4 Appeal: 13-4346 Doc: 25 Filed: 05/29/2013 Pg: 17 of 21

DECLARATION
I, Eric Andre Fields, do swear that I filed a Motion to Expedite Petition

for Motion for Rule 59(e) and Rule 60 on of / 13 J 20 id date

with objection to decision of Trial Court denying my request to the Court
for Bond Pending detention appeal or review. That Court denied I

filed objection to their decision on  O%//3 /20l2 and did mail

a Petition with Motion to Expedite under Rule 50 and Motion for a Rule 59(e)
and Rule 60 with memorandum of law, bond pending detention appeal or review
and Exhibit of prima facie evidence. And was timely filed pursuant to Court
Rule 59(e) 28 days from Morgantown, WV Federal Prison inmate mailing system.
Under penalty of perjury.

Pursuant to 28 U.S.C. §1746 which set forth date of deposit and state first
class postage has been prepaid would satisfy the declaration requirement

of Rule 902(11) as would any comparable certificate under oath.

It is considered retroactive upon giving it to prison official and timely

filed to the Court.

bui. Arte feta

Eric Andre Fields

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PVLb

: 13-4346 Doc

USCA4 Appeal

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‘Current Program Review: 11-01-2012

INMATE SKILLS DEVELOPMENT PLAN

MORGANTOWN FCI

a institution:

™\ P.O. BOX 1000
Name: FIELDS, ERIC ANDRE } MORGANTOWN, WV
Register Number: 55715-0565 . 26507
Security/Custody: MINIMUM/OUT ‘elephone: (304) 296-4416
Projected Release: i Fax: : 700-285-9000
Next Review Date: SL Tiriver's License/State: i
Next Custody Review Date: FBI Number: 182741 VAS
Age/DOB/Sex: 41 / 12-14-1970 /M DCDC Number: .
CIM Status: N INS Number:
PDID Number:
Other (Ds:
Release Residence: Gerldine Fields, Wife Release Employer: To Be Secured
371 EVERGREEN CHURCH AD [Address]
DELLO, NC 28436 Contact [roc]
Telephone: (910) 655-2533 Telephone: . {Phone]
Primary Emergency Contact: {POC} Secondary Emergency {POC}
[Address] . Contact: [Address]
Telephone: [Phone] - Telephone:

Mentor Information:

Sentence/Supervision: i

Detajners:

RESP-PARTICIPATES

Financial Plan Comm Dep-6 mos: [3] Cost of Incarceration

Active: [YN] Commissary Fee: [Choices]
Financial Plan Date: [Date] Balance: {3}
Payments
Commensurate: PY Ny
Missed: [YN]
Judicial Recommendations: = //
Special Conditions of
Supervision:
USPO {POC} USPO [POC]
Sentencing: [District] : Relocation: District]
{Street Address/Sulte] . [Street Address/Suite}
{City}, [State] [Zip]. . {City], [State] [Zip]
Phone/Fax: [Phone] / [Fax] Phone/Fax: /Phone]/ [Fax]
Subject to 18 U.S.C. 4042(B) Notification: N DNA Required: Y - [Data]
. Treaty Transfer Case: I¥.N]
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PROGRAM REVIEW: 11-01-2012
RegNo: 55715-056

INMATE SKILLS DEVELOPMENT PLAN
Name: FIELDS, ERIC ANDRE

Profile Comments:

EDUCATION DATA .

MRG GED UNK GED STATUS UNKNOWN 10-04-2012 | CURRENT

= Deserip &

10-17-2012 | CURRENT

VET AFFAIR VETEI

eee History

RRENT

CASE MANAGEMENT ASSIGNMENTS

MRG YES FIS CLEARED FOR FOOD SERVICE 10-25-2012 | CURRENT
MRG REG DUTY NO MEDICAL RESTR-REGULAR DUTY 10-25-2012 | GURRENT
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EMM bt

MRGBK 606.00 * MALE CUSTODY CLASSIFICATION FORM

PAGE 001 OF OOL
(A) IDENTIFYING DATA

R 155-7 a FORM DATE: 05-02-2013
BEENOres 8 —

(NAME....: FIELDS, ERIC ANDRE
ee MGTV: NONE
PUB SFTY: NO MVED:

(B) BASE SCORING

DETAINER: (0) NONE SEVERITY......- :
MOS REL.: 42 00 CRIM HIST SCORE:

ee ~
~ ESCAPES.: (0) NONE VIOLENCE.......:2
L SURR: C(O) N AGE CATEGORY...:

EDUC LEV: (0) VERFD HS DEGREE/GED DRUG/ALC ABUSE.:
(Cc) CUSTODY SCORING

TIME SERVED.....: (3) 0-25% PROG PARTICIPAT:
LIVING SKILLS...: (1) AVERAGE TYPE DISCIP RPT:
FREQ DISCIP RPT.: (3) NONE FAMILY/COMMUN. .

Page | of |

* 05-02-2013
19:11:25

ORG: MRG

(3) MODERATE
(00) 1 POINT

(0)
(2)

qa)

(1)
(5)
(4)

-~-- LEVEL AND CUSTODY SUMMARY ---
BASE CUST VARIANCE SEC TOTAL SCORED | LEV MGMT SEC LEVEL

+6 +417 -1 +5 oe) N/A

NONE
36 THROUGH 54
<5 YEARS

AVERAGE
NONE
GOOD

CUSTODY CONSIDER
fom
{ OUT DECREASE

G0005 TRANSACTION SUCCESSFULLY COMPLETED - CONTINUE PROCESSING IF DESIRED

https://bop.tep.doj.gov:9049/SENTR Y/J1PPG60.do

5/2/2013
USCA4 Appeal: 13-4346 Doc: 25 Filed: 05/29/2013 Pg: 20 of 21
ELL. 6T C
AFFIDAVIT
The Government knew that their chief witness stated lies. Talks between

Ballard and others were overheard by Gregory Wright (Register Number: 55867-056)
that happened between March 13, 2012 to July 12, 2012. Ballard had a sentence
of over 5 years which was reduced to under 4 years as a result of a statement
against Fields. That a list of people that he was going to use for five

k was stated, he would tell on a lot of people to get a sentence reduction.

Avegrsdlat

Gregory Wrigh

AFFIANT FURTHER SAYETH NOT.

USCA4 Appeal: 13-4346 ~ Doc: 25

ERIC ANDRE Frechs De sie
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Po. Box /600 Joe

N\ORGANTOWN »« W.Ve 2ESO7

55715-0562
Circuit Court Of Appeals
Oe Clerk of the Court
4100 E MAIN ST
- u.s. Court House Annex
Richmond, VA 23218-3538

United States

